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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

    DAVID BEASLEY
                Plaintiff,

                     vs.

    WILLIAM H. HOWARD                  Civil Action No. 1:19-cv-11058-JBS-
                                       KMW
                Defendant.




      DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS
                   OR IN THE ALTERNATIVE A
          RESPONSE TO PLAINTIFF’S MOTION TO VACATE

                                               Frank A. Natoli
                                               NATOLI-LEGAL, LLC
                                               305 Broadway, 7th Floor
                                               New York, NY 10007
                                               (212) 537-4437
                                               Frank@LanternLegal.com

                                               Moshe D. Lapin
                                               (Admission pro
                                               hac vice pending)
                                               LAPIN LAW FIRM
                                               300 E. Lombard Street
                                               Suite 840
                                               Baltimore, MD 21202
                                               (212) 858-0363
                                               Moshe@LapinLegal.com

                                               Attorneys for William H.
                                               Howard
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              INTRODUCTION AND PROCEDURAL HISTORY

       Defendant filed his Motion to Dismiss on June 11, 2019 based on (i) claim

 and issue preclusion resulting from two prior agency proceedings at the Trademark

 Trial and Appeal Board (“TTAB”) and (ii) the fact that Defendant’s trademark has

 been registered for more than five years and is not subject to cancellation. (Dkt. 8).

 Plaintiff’s response was due July 1, 2019. But no response was filed by that date.

 Instead, on July 3, 2019, Plaintiff filed a “Motion to Vacate”. Plaintiff’s July 3rd

 motion is effectively a response brief, as the title of the document makes clear:

 “NOTICE OF MOTION IN OPPOSITION OF DEFENDANT’S MOTION TO

 DISMISS CONPLAIN.”

       Plaintiff’s claims have twice been fully and finally adjudicated against

 Plaintiff at the United States Trademark Trial and Appeal Board (“TTAB”).

 Plaintiff’s claims are barred by the doctrines of Res Judicata (claim preclusion)

 and Collateral Estoppel (issue preclusion). The basis for Plaintiff’s claim in this

 case is fundamentally the same as the ones already adjudicated – namely,

 trademark fraud and trademark infringement.

       Plaintiff’s response consists of more than 20 pages of argument. Of the 20+

 pages, only one paragraph touches upon issue or claim preclusion. (See Dkt. 10,

 Page 4, ¶ 1) No other arguments in Plaintiff’s response even remotely address or

 respond to the preclusion issue. Even that one relevant paragraph is bare. Plaintiff


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 merely states that “[t]his is not the same cause of action addressed to the United

 States Patent and Trademark Office (USPTO) or that which was decided by the

 Trademark Trial and Appeal Board (TTAB). And therefore res judicata and

 collateral estoppel is totally moot.” (Dkt. 10, Page 4) Plaintiff, however, provides

 absolutely no basis for his assertions that the cause of action is different, and he

 completely ignores the fact that an issue or claim need not have been actually

 litigated as long as it could have been litigated in the prior proceeding. In re

 Mullarkey, 546 F.3d 215, 225 (3d Cir. 2008) (res judicata bars “not only claims

 that were brought in a previous action, but also claims that could have been

 brought.”) (emphasis added).

       Plaintiff notes that he seeks monetary damages in this case. To the extent

 that he uses that as a basis for arguing that this cause of action is different from the

 prior proceedings, there are several problems. First, Plaintiff is in fact seeking

 similar remedies to the ones obtainable at the TTAB, namely, the cancellation of

 Defendant’s trademark registration. Second, throughout the response Plaintiff

 emphasizes that the monetary damages he seeks are not for trademark infringement

 but for royalty theft. Perhaps this is what Plaintiff refers to when he states that “this

 is not the same cause of action.” (See Dkt. 10, Page 4, ¶2 (“The plaintiff is seeking

 a judgement for monetary damages . . . regardless of the trademark issue.”); Dkt.

 10, Page 7, bottom of the page (“THIS IS NOT AN ISSUE OF A TRADEMARK,


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 BUT AN ISSUE OF THEFT BY DECEPTION”); Dkt. 10, Page 14) . Finally, and

 most importantly, although it is true that the TTAB cannot award damages, the

 award of monetary damages is a remedy; it is not a cause of action.

       Regardless of the remedy Plaintiff seeks, the underlying bases for such

 damages have been (or at least could have been) previously litigated in David S.

 Beasley v. William H. Howard DBA The Ebonys, Cancellation No. 92057071

 (2014 WL 7336473 Trademark Tr. & App. Bd. (Dec. 9, 2014)) (referred to in this

 brief as the “First Action”) and in David S. Beasley v. William H. Howard DBA

 The Ebonys, Cancellation No. 92066369 (2018 WL 529919 Trademark Tr. & App.

 Bd. (Jan. 19, 2018)) (referred to in this brief as the “Second Action”). For

 purposes of claim preclusion, two cases arise from the same cause of action if there

 is “an essential similarity of the underlying events” of both cases. United States v.

 Athlone Indus., Inc., 746 F.2d 977, 984 (3d Cir. 1984). The events that Plaintiff

 lays out in this action are substantively the same as the ones he laid out in the First

 Action and the Second Action. Only the label has conveniently changed.

       Furthermore, Plaintiff for the first time raises claims that Defendant stole

 royalties owed to Plaintiff. (Dkt. 8, Page 4, ¶2, 4”). These allegations were not

 contained, or even hinted at, in Plaintiff’s complaint. The theft allegations are also

 state law allegations, the adjudication of which properly belongs in state court, not

 this federal court.


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                                   ARGUMENT

       I.    PLAINTIFF’S CLAIMS ARE                  PRECLUDED          BY       THE
             DOCTRINE OF RES JUDICATA

             A. Preclusion applies to administrative agency decisions

             The Supreme Court, in a procedurally similar case to this one, has

  made clear that preclusion applies to TTAB decisions. B & B Hardware, Inc. v.

  Hargis Industries, Inc., 135 S.C. 1293 (2015). As the Court noted:

             Both this Court's cases and the Restatement make clear that
             issue preclusion is not limited to those situations in which the
             same issue is before two courts. Rather, where a single issue is
             before a court and an administrative agency, preclusion also
             often applies. Indeed, this Court has explained that because the
             principle of issue preclusion was so “well established” at
             common law, in those situations in which Congress has
             authorized agencies to resolve disputes, “courts may take it as
             given that Congress has legislated with the expectation that the
             principle [of issue preclusion] will apply except when a
             statutory purpose to the contrary is evident.” Astoria, supra, at
             108, 111 S.Ct. 2166. This reflects the Court's longstanding view
             that “‘[w]hen an administrative agency is acting in a judicial
             capacity and resolves disputed issues of fact properly before it
             which the parties have had an adequate opportunity to litigate,
             the courts have not hesitated to apply res judicata to enforce
             repose.’” University of Tenn. v. Elliott, 478 U.S. 788, 797–798,
             106 S.Ct. 3220, 92 L.Ed.2d 635 (1986) (quoting United States
             v. Utah Constr. & Mining Co., 384 U.S. 394, 422, 86 S.Ct.
             1545, 16 L.Ed.2d 642 (1966)); see also Hayfield Northern R.
             Co. v. Chicago & North Western Transp. Co., 467 U.S. 622,
             636, n. 15, 104 S.Ct. 2610, 81 L.Ed.2d 527 (1984) (noting Utah
             Construction ); Kremer v. Chemical Constr. Corp., 456 U.S.
             461, 484–485, n. 26, 102 S.Ct. 1883, 72 L.Ed.2d 262 (1982)
             (characterizing    Utah      Construction's      discussion    of
             administrative preclusion as a holding); Restatement (Second)
             of Judgments § 83(1), at 266 (explaining that, with some limits,
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              “a valid and final adjudicative determination by an
              administrative tribunal has the same effects under the rules of
              res judicata, subject to the same exceptions and qualifications,
              as a judgment of a court”).

 Id. (emphasis in the original).

              B. Plaintiff’s claims are precluded because there is an “essential
                  similarity of the underlying events giving rise to the various
                  legal claims”

       Plaintiff asserts in his response that “[t]his is not the same cause of action”

 and that “therefore res judicata and collateral estoppel is totally moot.” (Dkt. 10,

 Page 4). In the more than 20 pages of argument, Plaintiff fails to explain why he

 believes the cause of action here is different from the prior TTAB proceedings.

 While it is true that Plaintiff is seeking monetary damages here (albeit for the

 royalty theft and not the trademark claims), damages are remedies, not claims or

 causes of action and they do not have the effect of changing the underlying causes

 of action. Were this not so, claim preclusion would have no teeth – a party would

 easily circumvent its effects by adding or changing the remedies sought.

       But even if the Court finds for some reason that the trademark cause of

 action in this case is genuinely different from the prior TTAB proceedings, claim

 preclusion would nevertheless apply here to preclude the trademark claim. For

 claim preclusion to apply, the cases at issue need to arise from the same cause of

 action. The courts in this Circuit hold that two cases arise from the same cause of

 action if there is “an essential similarity of the underlying events” of both cases.
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 United States v. Athlone Indus., Inc., 746 F.2d 977, 984 (3d Cir. 1984). That is,

 claims need not be identical in the two suits for preclusion to apply so long as there

 is an “essential similarity of the underlying events giving rise to the various legal

 claims.” Corestates Bank, N.A. v. Huls America, Inc., 176 F.3d 187, 194 (3d Cir.

 1997).

       The facts and events, as Plaintiff laid them out in the First Action and

 Second Action, are substantively identical to what he lays out in this case. Like the

 prior TTAB proceedings, Plaintiff alleges that he was the original member and

 creator of the musical group The Ebonys, that Plaintiff has priority of use of the

 trademark, that Defendant had no right to use the name, and that Defendant

 prevented him from obtaining a registration. (Dkt. 1). In the First Action, Plaintiff

 used these allegations to claim trademark fraud; in the Second Action he used the

 same general allegations to claim infringement/confusingly similar trademarks;

 and in this action he is using the same general facts to claim some combination of

 trademark fraud and infringement. But there remains “an essential similarity of the

 underlying events” in all three cases. United States v. Athlone Indus., Inc., 746

 F.2d 977, 984 (3d Cir. 1984). Preclusion therefore does apply to Plaintiff’s

 trademark claim.

       It is true that a plaintiff in federal court has more remedies available to it

 than before the TTAB, such as money damages, for example. Even so, the


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 Supreme Court has made clear that a district court is to give preclusion effect to

 TTAB decisions. B & B Hardware, Inc. v. Hargis Industries, Inc., 135 S.C. 1293

 (2015)

       II.    PLAINTIFF RAISES NEW CLAIMS IN HIS RESPONSE AND
              THEY SHOULD BE DISMISSED

       For the first time, Plaintiff alleges in his response (in fairly great detail) that

 Defendant stole royalty payments that were payable to Plaintiff.             (Dkt.   10).

 Defendant respectfully submits that these claims should be disregarded. No royalty

 theft allegations were made or even hinted to in the complaint. In addition, to the

 extent that the Court finds that claim or issue preclusion applies to the trademark

 claim (or that Defendant’s registration is not subject to cancellation because it has

 been registered for five years), such other state law claims would have no basis for

 jurisdiction in this Court.




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       III.   CONCLUSION

       For all of the foregoing reasons, Defendant respectfully requests that the

 Court grant his motion to dismiss.



 Dated: July 10, 2019



 Respectfully submitted,



                                            Respectfully submitted,


                                             S/ Frank A. Natoli
                                            ________________________
                                            Frank A. Natoli
                                            NATOLI-LEGAL, LLC
                                            305 Broadway, 7th Floor
                                            New York, NY 10007
                                            (212) 537-4437
                                            Frank@LanternLegal.com


                                            Moshe D. Lapin (Admission pro hac
                                            vice pending)
                                            LAPIN LAW FIRM
                                            300 E. Lombard Street
                                            Suite 840
                                            Baltimore, MD 21202
                                            (212) 858-0363
                                            Moshe@LapinLegal.com

                                            Attorneys for William H. Howard



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                          CERTIFICATE OF SERVICE

        I hereby certify that this REPLY was served on this 10th day of July, 2019,

 via U.S.P.S First Class Mail, upon Plaintiff at the following address:


                                   David Beasley
                               1105 Macarthur Drive
                                 Camden, NJ 08104


 July 10, 2019



 s/ Frank A. Natoli
 _________________________________
 Frank A. Natoli
 Natoli-Legal, LLC
 305 Broadway, 7th Floor
 New York, New York 10007
 (212) 537-4436




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